Case 2:05-cr-20201-.]DB Document 31 Filed 08/15/05 Page 1 of 2 Page|D 43

IN THE UNITED sTATEs DISTRICT CoURT ma abc
FoR THE wEs'rERN DISTRICT oF TENNESSEE Fuso cf ._,__M_ . _
EASTERN DIVIsIoN
UBAUG 15 PH 3= Zl
att-ctr m \'
UNITED sTATEs oF AMERICA CLB::FHW\ IR%LD

 
  

<r'aEilPH’lS

.___, t

v`l!ri:: :..~i i
v. Crim. NO. os-zozol-B/A'n

JOHN FORD

ORDER GRANTING MOTION TO EXTEND CURFEW
On July 25, 2005, the defendant filed a motion in this case to extend his curfew from 6:00
p.m. to a later hour, for purposes of the defendant’s business. After a hearing on the matter on
August 17, 2005, the court GRANTED the motion. T he defendant’s curfew is extended to 9:00
p.m. for the purposes of work, religious services, meetings with his attorney and care of his
children, as previously proscribed in Judge J. Daniel Breen’s order of May 31, 2005. All other
conditions of release previously imposed are to remain in effect.

IT IS SO ORDERED.

<§_WW @._

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE: fred /a, ?m./
0 l

This document entered on the docket sheet in compliance

With Rule 55 and/or 32(b) FRCrP ona- "l 6 ”cl§‘

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CR-20201 was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Sarnuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

l\/lemphis7 TN 38103

Tirnothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Michael Edwin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103--238

Honorable J. Breen
US DISTRICT COURT

